
Opinion by Judge BERZON; Dissent by Judge BYBEE.
ORDER
The full court was advised of the petition for rehearing en banc. A judge requested *1062a vote on whether to rehear the matter en banc. The matter failed to receive a majority of the votes of the nonrecused active judges in favor of en banc reconsideration. See Fed. R.App. P. 35.
The panel has voted to amend its opinion. The majority and dissenting opinions published at 599 F.3d 1055 are superseded in full by the amended opinions filed concurrently with this order. With those amendments, the petition for rehearing en banc is DENIED.
No future petitions for rehearing or rehearing en banc will be entertained.
OPINION
BERZON, Circuit Judge:
Ramon Ledezma-Galicia, a lawful permanent resident alien, was convicted in an Oregon state court in September 1988 of sodomy, for sexually molesting a minor. Current law provides that “sexual abuse of a minor” is an “aggravated felony” as defined by 8 U.S.C. § 1101 (a)(43)(A), and therefore grounds for removal under 8 U.S.C. § 1227(a)(2)(A)(iii).1 Ledezma-Galicia does not dispute that his crime is an aggravated felony. Instead, the question before us is whether Ledezma-Galicia may now be removed from the country based on his 1988 conviction, even though he would not have been deportable for that crime — or for any aggravated felony — at the time of his conviction. We conclude that he may not be removed, because (1) the 1988 law that made aliens deportable for aggravated felony convictions did not apply to convictions prior to November 18, 1988; and (2) neither Congress’s overhaul of the grounds for deportation in 1990 nor its rewrite of the definition of aggravated felony in 1996 erased that temporal limitation.
I. BACKGROUND
A. Overview
Ledezma-Galicia entered the United States in 1979 and became a lawful permanent resident on February 12, 1985. In June 1987, Ledezma-Galicia molested a ten-year-old girl. He was subsequently charged with sodomy in the first degree, in violation of Or.Rev.Stat. § 163.405, and rape in the first degree, in violation of Or.Rev.Stat. § 163.375. In exchange for dismissal of the rape charge, Ledezma-Galicia pleaded guilty to the sodomy count and admitted in his guilty plea that he had sexual intercourse with a minor. On September 16, 1988, he was sentenced to eight months in custody.
In April of 2003, the Bureau of Immigration and Customs Enforcement charged Ledezma-Galicia with removability because of his 1988 conviction. See Ledezma Galicia v. Crawford, 294 F.Supp.2d 1191, 1193 (D.Or.2003) (summarizing the factual background). Under current law, sexual abuse of a minor is an aggravated felony, 8 U.S.C. § 1101(a)(43)(A), and a conviction for an aggravated felony renders an alien removable,2 8 U.S.C. § 1227(a)(2)(A)(iii). But that was not the case when Ledezma-Galicia was convicted. See 8 U.S.C. § 1251(a) (1982) (listing grounds for deportation). To determine whether Ledezma-*1063Galicia can now be deported because of his 1988 conviction requires a journey through the last twenty years of immigration law reform.
Three laws are relevant to our inquiry, all of which amended the Immigration and Nationality Act (“INA”): the Anti-Drug Abuse Act of 1988 (“ADAA” or “1988 Act”), Pub.L. No. 100-690, 102 Stat. 4181; the Immigration Act of 1990 (“IMMAct” or “1990 Act”), Pub.L. No. 101-649, 104 Stat. 4978; and the Illegal Immigration Reform and Immigrant Responsibility Act of 1996 (“IIRIRA” or “1996 Act”), Pub.L. No. 104-208, div. C, 110 Stat. 3009-546. Because Ledezma-Galicia’s conviction occurred before all three enactments, the retroactivity of the currently applicable aggravated felony removal ground, 8 U.S.C. § 1227(a)(2)(A)(iii),3 to pre-ADAA convictions is central to our inquiry. That inquiry focuses, in turn, on the interplay between the current aggravated felony removal provision, a temporal limitation in the 1988 ADAA, a savings clause in the 1990 IMMAct, and an effective date provision in the 1996 IIRIRA.
Ledezma-Galicia argues that the ADAA, which limited aggravated felony deportations to post-ADAA convictions, protects him from being deported based on his preADAA conviction. The Attorney General maintains, in contrast, that the ADAA is not relevant to Ledezma-Galicia’s circumstances, because its temporal limitation on the aggravated felony ground of deportation did not survive the later passage of the IMMAct in 1990 and of IIRIRA in 1996. Applying the heavy presumptions against repeals by implication, see Nat’l Ass’n of Home Builders v. Defenders of Wildlife, 551 U.S. 644, 662-64, 127 S.Ct. 2518, 168 L.Ed.2d 467 (2007); Radzanower v. Touche Ross &amp; Co., 426 U.S. 148, 153—54, 96 S.Ct. 1989, 48 L.Ed.2d 540 (1976), and against statutory retroactivity, see generally Landgraf v. USI Film Products, 511 U.S. 244, 114 S.Ct. 1483, 128 L.Ed.2d 229 (1994), we agree with Ledezma-Galicia that the ADAA’s temporal limitation remains in effect as an exception to other temporal provisions enacted later, and precludes his deportation.
B. The ADAA of 1988
The ADAA of 1988 made a series of amendments to the INA. In it, Congress, for the first time, both created the category of crimes denominated “aggravated felonies,” ADAA § 7342,102 Stat. at 4469-70, and provided that any alien who was convicted of an “aggravated felony” at any time after entering the United States was subject to deportation. Id. at § 7344(a), 102 Stat. at 4470-71 (adding aggravated felony convictions to the statutory list of grounds for deportation);4 see also Leocal v. Ashcroft, 543 U.S. 1, 4 n. 1, 125 S.Ct. 377, 160 L.Ed.2d 271 (2004) (tracing the origins of the term “aggravated felony”).
At the time it was enacted in 1988, the ADAA did not make Ledezma-Galicia deportable, for two reasons: First, the ADAA defined only murder, illegal drug trafficking, and firearm and destructive device trafficking offenses — not sexual abuse of a minor — as aggravated felonies. See ADAA § 7342.5 Second, the ADAA *1064was enacted on November 18, 1988, just over two months after Ledezma-Galicia was convicted of the underlying sodomy offense at issue here. A temporal limitation in the ADAA expressly constrained the applicability of the new aggravated felony removal ground, providing:
The amendments made by [§ 7344(a) to INA § 241(a)(4)] shall apply to any alien who has been convicted, on or after the date of the enactment of this Act, of an aggravated felony.
ADAA § 7344(b), 102 Stat. at 4471.
So, at the time of Ledezma-Galieia’s conviction for sexually molesting a minor, there was as yet no provision in the INA making aliens removable as a result of aggravated felony convictions. And when Congress, just over two months later, enacted the ADAA, created the category of “aggravated felonies,” and made conviction of an aggravated felony a ground for deportation, that ground for deportation (a) was expressly made inapplicable to individuals who, like Ledezma-Galicia, were convicted before the ADAA’s enactment, and (b) did not cover sexual abuse crimes such as Ledezma-Galieia’s.
C. The IMMAct of 1990
Two years after it enacted the ADAA, Congress overhauled deportation law by passing the IMMAct. Like the ADAA, the IMMAct alone did not change Ledezma-Galieia’s immigration status, because it did not define Ledezma-Galieia’s crime, sexual abuse of a minor, as a deportable offense. The Attorney General maintains, however, that § 602 of the IMMAct did affect the temporal reach of ADAA § 7344(a), which had created the aggravated felony ground of deportation.
IMMAct § 602(a) replaced the INA’s list of grounds for deportation with a revised list. As recited in the text of IMMAct § 602(a) and codified at 8 U.S.C. § 1251(a), that revised list reiterated the aggravated felony ground and many of the other pre-IMMAct grounds for deportation, only redesignating them at new locations in the U.S. Code. IMMAct § 602(a) also altered or deleted certain other grounds of deportation, and added several new ones. See 104 Stat. at 5077-81; compare 8 U.S.C. § 1251(a) (1988) with 8 U.S.C. § 1251(a) (1988 Supp. II).
In addition, subject to certain exceptions, IMMAct §§ 602(c) and (d) stated that the revised list of grounds for deportation applied to all aliens regardless of their date of entry into the United States or the date of the “facts” that rendered them deportable. Specifically, § 602(c), titled a “Savings Provision,” provided that:
Notwithstanding the amendments made by this section, any alien who was deportable because of a conviction (before the date of the enactment of this Act) of an offense referred to in paragraph (15), (16), (17), or (18) of section 241(a) of the Immigration and Nationality Act,[6] as in effect before the date of the enactment of this Act, shall be considered to remain so deportable. Except as otherwise specifically provided in such section and subsection (d), the provisions of such section, as amended by this section, shall apply to all aliens described in subsection (a) thereof notwithstanding that (1) any such alien entered *1065the United States before the date of enactment of this Act, or (2) the facts, by reason of which an alien is described in such subsection, occurred before the date of the enactment of this Act.
104 Stat. at 5081-82. IMMAct § 602(d), in turn, provided that “[t]he amendments made by this section, and by section 603(b) of this Act, shall not apply to deportation proceedings for which notice has been provided to the alien before March 1, 1991.” 104 Stat. at 5082.
In short, the IMMAct did not make Ledezma-Galicia removable, because it still did not classify the sexual abuse of a minor as an aggravated felony for which one could be removed. Nevertheless, both parties regard IMMAct § 602 as central to whether the aggravated felony ground of deportation applies to Ledezma-Galicia. We will return to discuss that section below, but first we recount one final enactment amending the INA and affecting Ledezma-Galicia’s case.
D. IIRIRA of 1996
In 1996, six years after enacting the IMMAct, Congress passed the final piece of this statutory puzzle, IIRIRA. IIRIRA made Ledezma-Galicia’s crime a deportable offense by adding “sexual abuse of a minor” to the definition of aggravated felony. 8 U.S.C. § 1101(a)(43)(A); IIRIRA § 321(a)(1), 110 Stat. at 3009-627. IIRIRA’s amendment to the INA’s definition of “aggravated felony” finally brought Ledezma-Galicia’s crime within that definition. The amendment specified that this characterization applied “regardless of whether the conviction was entered before, on, or after [September 30, 1996],” IIRIRA § 321(b), and to “actions taken on or after the date of the enactment of this Act, regardless of when the conviction occurred,” id. at § 321(c). See 110 Stat. at 3009-628.
Thus, IIRIRA now classifies Ledezma-Galicia’s crime as an aggravated felony. But that classification alone does not render him removable. Rather, Ledezma-Galicia is only removable under IIRIRA if, as the government urges, § 602 of the IMMAct repealed the section of the ADAA specifying that an aggravated felony conviction entered prior to November 18, 1988, cannot serve as the basis for a charge of removability. Whether that is so is the central question in this case.
E. Procedural history of this case
On April 13, 2003, the Bureau of Customs and Immigration Enforcement, relying on IIRIRA’s revised definition of aggravated felony, initiated removal proceedings against Ledezma-Galicia by filing a Notice to Appear. The Notice charged Ledezma-Galicia with removability pursuant to 8 U.S.C. § 1227(a)(2)(A)(iii) as an alien convicted of an “aggravated felony,” id. — specifically, “sexual abuse of a minor,” which is now an aggravated felony under 8 U.S.C. § 1101(a)(43)(A).7
An immigration judge (“IJ”) determined that Ledezma-Galicia was removable as charged and denied on the merits his application for discretionary relief under former § 212(c) of the INA, 8 U.S.C. § 1182(c) (1994).8 In turn, the Board of Immigration Appeals (BIA) dismissed Ledezma-Galicia’s appeal from the IJ’s decision, affirming both that he was removable *1066and that he did not merit discretionary relief under former § 212(c).
Six days later, Ledezma-Galicia filed a petition for a writ of habeas corpus in the U.S. District Court for the District of Oregon. While that petition was pending, Ledezma-Galicia filed a timely petition for review with this court. The district court denied the habeas petition in a published decision, from which Ledezma-Galicia timely appeals. We treat Ledezma-Galicia’s appeal of the district court’s denial of his habeas petition as a timely filed petition for review, Alvarez-Barajas v. Gonzales, 418 F.3d 1050, 1052-53 (9th Cir.2005), and consider it together with Ledezma-Galicia’s other petition, as the legal issues presented in the two petitions are identical.
II. JURISDICTION
The question we address — whether Ledezma-Galicia (or any other alien) is removable for an aggravated felony conviction that occurred before November 18, 1988 — is purely one of law. We therefore have jurisdiction to review it under 8 U.S.C. § 1252(a)(2)(D), as amended by the REAL ID Act of 2005, Pub.L. No. 109-13, div. B, § 106(a), 119 Stat. 231, 310-11.
III. DISCUSSION
Pursuant to IIRIRA, aliens convicted after the enactment of the ADAA of crimes designated as aggravated felonies are deportable, regardless of when the crimes of which they were convicted were first defined as aggravated felonies. See Aragon-Ayon v. INS, 206 F.3d 847 (9th Cir.2000). Ledezma-Galicia, however, was convicted before the ADAA was enacted, and thus both before his crime was defined as an aggravated felony and before the introduction of the “aggravated felony” category as a ground for deportation. To resolve Ledezma-Galicia’s argument that the ADAA’s temporal limitation on applicability prohibits removal for his pre-ADAA conviction, we address in turn the two questions raised by the parties: First, did § 602 of the 1990 IMMAet preserve or override ADAA § 7344(b), the ADAA’s temporal limitation on aggravated felony deportations? Second, if ADAA § 7344(b) survived the IMMAet, did IIRIRA in 1996 eliminate its temporal limitation?
A. IMMAet § 602 and ADAA § 7344(b)
To repeat, ADAA § 7344(b) limited aggravated felony deportations to convictions obtained on or after November 18, 1988, while IMMAet § 602(c), without mentioning aggravated felonies specifically, provided generally that, with a few exceptions, grounds for deportation should apply to all aliens, regardless of the date on which “the facts” triggering deportability occurred.
Recognizing the surface tension between ADAA § 7344(b) and IMMAet § 602(c), Ledezma-Galicia urges us to conclude, first, that the latter did not expressly repeal the former, and, second, that the latter provision should not be read to repeal the former by implication, because doing so would violate both the presumption against implied repeals and the presumption against retroactively applied statutes. See generally Natl Ass’n of Home Builders, 551 U.S. at 662-64, 127 S.Ct. 2518; Landgraf, 511 U.S. 244, 114 S.Ct. 1483. The Attorney General, on the other hand, contends that IMMAet § 602(c) overrides the very specific directive of ADAA § 7344(b), a conclusion that the BIA reached in Matter of Lettman, 22 I. &amp; N. Dec. 365 (BIA 1998) (en banc).
We agree with Ledezma-Galicia. We explain, first, that, because this case involves the retroactive application of the immigration statutes, we are foreclosed from according Chevron deference to the BIA’s decision in Lettman. See Chevron, U.SA., Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837, 842-43, 104 S.Ct. 2778, 81 *1067L.Ed.2d 694 (1984); INS v. St. Cyr, 533 U.S. 289, 320 n. 45, 121 S.Ct. 2271, 150 L.Ed.2d 347 (2001). We next conduct our own analysis of the IMMAct and conclude that it cannot be read to repeal ADAA § 7344(b) either expressly or impliedly. Finally, we consider whether this case is controlled by United States v. Housepian, 359 F.3d 1144 (9th Cir.2004) (en banc) and United States v. Yacoubian, 24 F.3d 1 (9th Cir.1994), two cases addressing firearms convictions covered by a clause similar to ADAA § 7344(b), but conclude that it is not.
1. The BIA and Chevron deference
Athough the BIA in Matter of Lettman addressed the very question before us — whether the IMMAct repealed ADAA § 7344(b) — Chevron deference to the BIA’s decision is inappropriate. In INS v. St. Cyr, the Supreme Court held that courts should not defer to agencies in determining whether a statute is to be applied retroactively, explaining that:
[W]e only defer ... to agency interpretations of statutes that, applying the normal “tools of statutory construction,” are ambiguous. Chevron, 467 U.S. at 843 n. 9 [104 S.Ct. 2778], Because a statute that is ambiguous with respect to retroactive application is construed under our precedent to be unambiguously prospective, Landgraf, 511 U.S. at 264 [114 S.Ct. 1483], there is, for Chevron purposes, no ambiguity in such a statute for an agency to resolve.
St. Cyr, 533 U.S. at 320 n. 45, 121 S.Ct. 2271 (internal citations altered).
The government contends that the ADAA, IMMAct and IIRIRA — statutes enacted in November, 1988, in 1990 and in 1996, respectively — make Ledezma-Galicia removable as an aggravated felon on the basis of his September 1988 conviction. This contention raises a question of statutory retroactivity and so we must decide it ourselves.9 See also Lujan-Armendariz v. INS, 222 F.3d 728, 749 (9th Cir.2000) (finding “no occasion” to apply Chevron deference where the presumption against implied repeals resolved statutory ambiguity).
*10682. The BIA committed an error of statutory interpretation.
If the BIA’s reasoning in Lettman were persuasive, we might nonetheless adopt it as our own. But the BIA took a fundamentally wrong turn in its analysis, and so arrived at an interpretation at odds with the plain language of the two statutes. Matter of Lettman concentrated on the “except” clause in IMMAct § 602(c), which provides: “Except as otherwise specifically provided in such section and subsection (d).... ” The BIA determined, first, that the clause excepted from the rest of IMMAct § 602(c) the portions of INA § 241 that otherwise conflicted with § 602(c). But § 602(c) was ambiguous, the agency concluded, about which version of INA § 241 the IMMAct provision referred to in the “except” clause. 22 I. &amp; N. Dec. at 372-73. Lettman’s position was that the “except” clause referred to the pre-IMMAct version of INA § 241 — -that is, INA § 241 as it stood after the ADAA’s passage, before the IMMAct amended it. Id. at 373. The BIA rejected this reading of the statute and instead adopted the Immigration and Naturalization Service's (“INS”) position that the clause referred to the posi-IMMAct version of INA § 241. Id. at 373-74. Having made that determination, the BIA went on to conclude that § 602(c) of the IMMAct overrode § 7344(b) of the ADAA, because the postIMMAct version of INA § 241 contained no temporal limitation on the application of the aggravated felony ground for deportation.
As it turns out, however, it does not matter whether IMMAct § 602(c) should be read to refer to the pre-IMMAct or the post-IMMAct version of § 241(a). Contrary to Lettman’s supposition, the answer to that question has no bearing on whether the ADAA’s temporal limitation survived the IMMAct’s passage.
The key to the BIA’s mistake is this: ADAA § 7344(b) was never part of the text of INA § 241 at all. True, ADAA § 7344(a) provided: “Section 241(a)(4) [of the INA] (8 U.S.C. 1251(a)(4)) is amended — (2) by inserting after the semicolon [the aggravated felony ground for deportation].” But the text of ADAA § 7344(5), unlike subsection (a), contained no reference to INA § 241, or to its codified version, 8 U.S.C. § 1251. Instead, § 7344(b) reads only: “The amendments made by subsection (a) [of ADAA § 7344] shall apply to any alien who has been convicted, on or after the date of the enactment of this Act, of an aggravated felony.” 10
*1069In other words, ADAA § 7344(b) was never a subsection of INA § 241. Instead, it was always an entirely free-standing temporal limitation provision. As a result, neither the “except” clause of IMMAct § 602(c) (“Except as otherwise specifically provided in such section and subsection (d).... ”), nor the affirmative provision of § 602(c)’s second sentence (“... the provisions of such section, as amended by this section, shall apply to all aliens described in subsection (a) thereof’), can describe the fate of ADAA § 7344(b), because § 7344(b) was never in “such section,” pre — or post-IMMAct. Thus, whichever version of INA § 241 the “except” clause and the affirmative language of IMMAct § 602(c) refer to, neither reference to “such section” refers to § 7344(b) or tells us whether § 7344(b) was alive or dead after the enactment of the IMMAct.
In sum, Lettman is not entitled to Chevron deference because it involves a question of statutory retroactivity. While we might nonetheless follow its reasoning if it were persuasive, we decline to do so because its reasoning cannot be squared with the statute.11
made by the electronic databases’ transcribers in producing their unofficial online versions of the U.S.Code. Their erroneous decision to reproduce the marginal note as part of the statute itself is without any legal significance.
3. Implied repeal
Even though the BIA’s reasoning in Lettman was fundamentally flawed, we might still reach, for independent reasons, the conclusion that Congress intended those convicted of aggravated felonies before the ADAA’s enactment to be removable. But for the IMMAct and IIRIRA to apply retroactively beyond 1988, Congress had to repeal ADAA § 7344(b). As we have seen, IMMAct § 602(c) did not expressly repeal ADAA § 7344(b), so the repeal, if there was any at all, must have been by implication. Our question thus becomes whether § 7344(b) of the 1988 Act was impliedly repealed. Applying the extremely strict standards for finding an implied repeal, we conclude that it was not.
As the Supreme Court has had the occasion to remind us recently, “repeals by implication are not favored and will not be presumed unless the intention of the legislature to repeal is clear and manifest.” Nat’l Ass’n of Home Builders, 551 U.S. at 662, 127 S.Ct. 2518 (internal quotation marks and alterations omitted). There are narrow circumstances in which implied repeals will be recognized, however. Broadly speaking,
*1070[i]t is a basic principle of statutory construction that a statute dealing with a narrow, precise, and specific subject is not submerged by a later enacted statute covering a more generalized spectrum, unless the later statute expressly contradicts the original act or unless such a construction is absolutely necessary in order that the words of the later statute shall have any meaning at all.
Traynor v. Turnage, 485 U.S. 535, 548-49, 108 S.Ct. 1372, 99 L.Ed.2d 618 (1988) (internal quotation marks, alterations, and citations omitted). More specifically, the Supreme Court has recognized “two well-settled categories of repeals by implication — (1) where provisions in the two acts are in irreconcilable conflict ...; and (2) [where] the later act covers the whole subject of the earlier one and is clearly intended as a substitute.” Radzanower v. Touche Ross &amp; Co., 426 U.S. 148, 154, 96 S.Ct. 1989, 48 L.Ed.2d 540 (1976).
Under either rubric, we cannot conclude that a later statute impliedly repeals an earlier one unless “ ‘the intention of the legislature to repeal [is] clear and manifest.’ ” Nat’l Ass’n of Home Builders, 551 U.S. at 662, 127 S.Ct. 2518 (alterations in original) (quoting Watt v. Alaska, 451 U.S. 259, 267, 101 S.Ct. 1673, 68 L.Ed.2d 80 (1981)). And such an intention is not “clear and manifest” simply because “the two statutes produce differing results when applied to the same factual situation.” Radzanower, 426 U.S. at 155, 96 S.Ct. 1989. “[T]hat,” the Supreme Court has pronounced, “no more than states the problem. Rather, ‘when two statutes are capable of co-existence, it is the duty of the courts ... to regard each as effective.’ ” Id. (quoting Morton v. Mancari, 417 U.S. 535, 551, 94 S.Ct. 2474, 41 L.Ed.2d 290 (1974)) (ellipsis in original).
Applying these principles, “[b]oth this court and the Supreme Court have found no [implied repeal] where, by creating minor exceptions to later-enacted statutes based on earlier ones, both statutes can be preserved.” Lujan-Armendariz, 222 F.3d at 744. In Donaldson v. United States, 653 F.2d 414 (9th Cir.1981), for example, we characterized as a “small puncture in a broad shield” the relationship between an earlier statute regarding resort owners’ liability and a later statute that applied to all real property owners. Id. at 418. Although the two statutes conflicted on their face, we reconciled them by allowing the earlier statute to serve as a narrow exception to the later one.
Similarly, Lujanr-Armendariz preserved a provision in the Federal First Offender Act (FFOA) as an exception to a later law that defined the term “conviction” for immigration purposes. The FFOA provision allowed courts “to sentence the defendant in a manner that prevents him from suffering any disability imposed by law on account of the finding of guilt.” 222 F.3d at 735. The immigration law would otherwise have conflicted with the FFOA. But we held that the earlier statute was not “irreconcilable” with the latter — and thus not impliedly repealed — because to resolve the conflict between the two, “[w]e need[ed] only construe the later-enacted immigration law as subject to the minor exception required by the provisions of the earlier-enacted [FFOA].” Id. at 745; see also id. at 744-45 (discussing similar analysis in Radzanoiuer and NLRB v. Kolkka, 170 F.3d 937 (9th Cir.1999)).
Applying these precepts, ADAA § 7344 and IMMAct § 602(c) meet neither implied repeal standard.

i. IMMAct § 602(c)

It is quite evident that IMMAct § 602(c) is a more general statutory provision than ADAA § 7344(b). IMMAct § 602(c) directs generally that revised INA § 241 applies without regard to whether “the facts, by reason of which an alien is de*1071scribed as removable in [INA § 241],” occurred prior to IMMAct’s enactment. But it does not specifically cover the impact of convictions for crimes generally, or the impact of pre-1988 convictions in particular. ADAA § 7344(b), in contrast, narrowly and expressly covered both of these considerations, and, even more narrowly, did so with regard to the aggravated felony ground of deportation only.
True, when applied after 1990 to preADAA aggravated felony convictions, the affirmative provision of IMMAct § 602(c), which covers all of INA § 241, could, read literally, “produce [a] differing result when applied to the same factual situation” as ADAA § 7344(b). Radzanower, 426 U.S. at 155, 96 S.Ct. 1989. That is, with the “except” clause out of the picture, IMMAct § 602(c), on its face, could be read to allow deportation for such convictions, while ADAA § 7344(b) would not. But, as Radzanower teaches, “that ... states the [implied repeal] problem” but does not resolve it. Id. at 155, 96 S.Ct. 1989. To resolve the problem, Radzanower and its progeny inform us, we must consider whether, like the preexisting narrow statutes at issue in Lujan-Armendariz and other cases, the earlier and narrower statutory provision here — ADAA § 7344(b) — must be construed as a minor exception to the very general language of the later statutory provision — IMMAct § 602(c). We determine that it must, for several reasons.
First, construing ADAA § 7344(b) as an exception to the broad reach of IMMAct § 602(c) would certainly be a “small puncture in a broad shield.” Donaldson, 653 F.2d at 418. ADAA § 7344(b) addresses only one of many categories of deportable offenses. Aggravated felony convictions constitute one of the approximately thirty grounds for deportation and fourteen categories of deportable criminal offenses that IMMAct § 602(a) listed. Further, with the passage of time, the pool of otherwise deportable aliens who committed preADAA aggravated felonies — already a small percentage of all deportable aggravated felons — will continue to shrink.
Second, nothing in the text of the IMMAct indicates a “clear intention,” Radzanower, 426 U.S. at 153, 96 S.Ct. 1989, to apply the broad language of IMMAct § 602(c) so as to repeal the very precise, narrow directive of ADAA § 7344(b). Nor does anything in the text preclude interpreting ADAA § 7344(b) as a narrow exception to IMMAct § 602. The “except” clause of § 602(c) shows that Congress anticipated some tension between IMMAct § 602(c) and INA § 241, but, without more, we cannot conclude that this clause shows the requisite congressional intent to repeal a separate provision specifically addressing retroactivity of a small subset of deportation grounds, ADAA § 7344(b).12
Third, when ADAA § 7344(b) was enacted, INA § 241 already contained a provi*1072sion nearly identical to the second sentence of IMMAct § 602(c). INA § 241(d), 8 U.S.C. § 1251(d) (1982), provided:
Except as otherwise specifically provided in this section, the provisions of this section shall be applicable to all aliens belonging to any of the classes enumerated in subsection (a) of this section, notwithstanding (1) that any such alien entered the United States prior to June 27, 1952, or (2) that the facts, by reason of which any such alien belongs to any of the classes enumerated in subsection (a) of this section, occurred prior to June 27,1952.
At the time of its enactment, ADAA § 7344(b) unarguably presented an exception to former INA § 241(d), even though it was not an exception “specifically provided in this section” because ADAA § 7344(b) was a freestanding provision never incorporated in INA § 241. IMMAct § 602(c) performs essentially the same function as former INA § 241(d).13 As ADAA § 7344(b) was a freestanding exception to former INA § 241(d), then the similar language of IMMAct § 602(c), making no mention whatever of ADAA § 7344(b), should also be read as compatible with ADA § 7344(b), rather than as doing away with that section sub silentio.
Fourth, the legislative history of IMMAct § 602 is of no additional assistance in demonstrating a clear and manifest intention to repeal ADAA § 7344(b). The conference report on the IMMAct makes clear that IMMAct § 602(a) was to replace the former INA § 241(a) by updating the grounds for deportation and “ ‘consolidating] ... related grounds in order to make the law more rational and easy to understand.’ ” Matter of Lettman, 22 I. &amp; N. Dec. at 371 (quoting H.R. REP. No. 101-955, at 119, 128 (1990), reprinted in 1990 U.S.C.C.A.N. 6784, 6793). But neither that conference report nor any other legislative history document we have found discusses IMMAct § 602(c) in any regard, or reports the intended effect of the IMMAct on ADAA § 7344(b) or similar provisions. Compare Novak, 476 F.3d at 1051-52 (concluding that a statute impliedly repealed another in part because the legislative history showed Congress was aware of the potential conflict between the two laws when the later statute was passed).
Fifth and finally, when other provisions of the IMMAct are taken into account, it becomes apparent that Congress did not intend to repeal ADAA § 7344(b), because doing so would have produced exceedingly odd results. See generally Sheridan v. United States, 487 U.S. 392, 402 n. 7, 108 S.Ct. 2449, 101 L.Ed.2d 352 (1988) (explaining that “courts should strive to avoid attributing absurd designs to Congress”).
*1073The peculiar outcome we must strive to avoid would result from the interaction of IMMAct § 602(c) and IMMAct § 501, which amended the definition of the term “aggravated felony.”14 Section 501 broadened the definition of the term “aggravated felony” by, inter alia, adding certain controlled substance trafficking crimes and crimes of violence to the list of qualifying crimes in INA § 101(a)(43). IMMAct § 501(a), 104 Stat. at 5048. So, like the ADAA, the IMMAct treated the definition of “aggravated felony” as distinct from the aggravated felony ground for deportation. The IMMAct also separately specified the temporal reach of the new definition: IMMAct § 501(b) provided that four of the six amendments added by § 501, including the addition of “crimes of violence,” would apply only “to offenses committed on or after the date of the enactment of [the IMMAct].” 104 Stat. at 5048. Two other amendments, including addition of certain controlled substance trafficking offenses, applied as if they had been included in the ADAA’s 1988 definition of “aggravated felony.” Id.
Section 501(b)’s reference to the ADAA indicates that Congress considered § 7344(b) of that Act as continuing in force. Were § 7344(b) impliedly repealed by IMMAct, the provision in IMMAct itself specifying that certain of the amendments contained in § 501(a) would be “effective as' if included in the enactment of section 7342 of the Anti-Drug Abuse Act of 1988” would be pointless. For, if IMMAct § 602(c) in fact eliminated ADAA § 7344(b), the pivotal provision in the 1988 Act concerning the temporal impact of the aggravated felony definition would no longer exist, and there would be no reason to refer in IMMAct to the ADAA, rather than to § 602(c) of IMMAct itself, as the source of effective date provisions concerning amendments to the aggravated felony definition.15
*1074Moreover, if § 501(b) is read as having incorporated the temporal limitations of the ADAA with regard only to some of the IMMAct’s definitional amendments, that reading would produce exceedingly peculiar results: For aliens who committed money laundering and crimes of violence— first defined as aggravated felonies in IMMAct § 501(a) — the new aggravated felony definition would apply prospectively, so that only aliens who committed such crimes after IMMAct’s passage in 1990 could be deported as aggravated felons. But aliens who committed the controlled substance or state law offenses referenced in IMMAct § 501(b) before 1988, like aliens who committed aggravated felonies included in the ADAA but were convicted prior to the ADAA’s passage, would suddenly become deportable with the enactment of the IMMAct. Such a reading would mean that the IMMAct, for no apparent reason, protected from deportation some, but not all, aggravated felons who committed crimes before the aggravated felony ground of deportation was created.
This division would make no sense. Instead, in light of IMMAct § 501(b)’s reference to the ADAA, and § 501(b)’s apparent purpose to limit the instances in which criminal aliens were retroactively categorized as deportable, it becomes evident that the 1990 Congress intended generally to preserve the ADAA’s determination that an aggravated felon would be deportable as such only if convicted of the crime in question, at the earliest, after November 18, 1988 — that is, after conviction of an aggravated felony became a deportable offense.
The dissent argues that the BIA read IMMAct § 602(c) as part of a “ ‘wholesale revision of 8 U.S.C. § 1251 [INA § 241], a ‘new statutory scheme,’ embracing ‘comprehensive changes,’ ” Dissent at 1088 (quoting Lettman, 22 I. &amp; N. Dec. at 374), and thus, as a repeal by way of complete substitution, which is “not the sort of implied repeal that is discouraged by our presumption.” Id. at 1088 (citing Nat’l Ass’n of Home Builders, 551 U.S. at 663, 127 S.Ct. 2518). The dissent’s view of the BIA opinion as properly resting on a complete substitution implied repeal theory and as therefore entitled to deference cannot be right, for three reasons.
First, the BIA stated in Lettman that its reading of § 602(c) “comports with our understanding that the purpose of § 602 of the 1990 Act was to completely revise the deportation grounds.” Lettman, 22 I. &amp; N. Dec. at 372 (emphasis added). That is, it came to its reading of § 602(c) quite apart from the complete revision rationale, namely because it considered § 602(c)’s reference to INA § 241(a) to encompass ADAA § 7344(b) expressly. The BIA never directly addressed the presumption against implied repeals before settling upon its interpretation of § 602(c). As we have already shown, ADAA § 7344(b) was never a part of INA § 241, so whatever the BIA believed about § 602(a) being “intended to replace former section 241(a) (1988) in its entirety,” Lettman, 22 I. &amp; N. Dec. at 371, such a complete replacement would not directly have affected the meaning of § 602(c).
Second, even taking the BIA’s decision “on its own terms” as the dissent suggests we should and presuming that the BIA regarded IMMAct § 602(c) as a complete revision of the deportation provisions of the INA, the BIA’s statutory construction in Matter of Lettman was not “well within *1075the general principles applicable to implied repeals.” See Dissent at 1089. Matter of Lettman stated that “there would be no point in enacting a new statutory scheme if the intent was to keep the former version of the law in control whenever there was a difference between the old and the new. We cannot conclude that this was the intention of Congress.” 22 I. &amp; N. Dec. at 374. The BIA’s reasoning, and the dissent’s attempt to portray Lettman as properly applying the demanding requirements for an implied repeal, do not work.
Posadas v. National City Bank, 296 U.S. 497, 56 S.Ct. 349, 80 L.Ed. 351 (1936) explains:
The cardinal rule is that repeals by implication are not favored. Where there are two acts upon the same subject, effect should be given to both if possible. There are two well-settled categories of repeals by implication — (1) where provisions in the two acts are in irreconcilable conflict, the later act to the extent of the conflict constitutes an implied repeal of the earlier one; and (2) if the later act covers the whole subject of the earlier one and is clearly intended as a substitute, it will operate similarly as a repeal of the earlier act. But, in either case, the intention of the legislature to repeal must be clear and manifest; otherwise, at least as a general thing, the later act is to be construed as a continuation of, and not a substitute for, the first act[]
Id. at 503, 56 S.Ct. 349 (emphasis added). As we have shown extensively, IMMAct was by no means clearly intended to repeal the ADAA generally, and the dissent fails to identify any “clear and manifest” congressional intent to do so. Instead, the dissent is forced to “infer[ ]” a repeal, see Dissent at 20520, contrary to the Supreme Court’s directive not to “infer a statutory repeal unless the later statute expressly contradicts the original act or unless such a construction is absolutely necessary ... in order that the words of the later statute shall have any meaning at all.” Nat’l Ass’n of Home Builders, 551 U.S. at 662, 127 S.Ct. 2518 (internal quotation marks and alterations omitted). Boardmember Rosenberg, dissenting from the majority decision in Matter of Lettman, showed at length why the IMMAct did not replace the aggravated felony provisions of the ADAA, but only redesignated them. 22 I. &amp; N. Dec. at 389-93, 396-97 (Rosenberg, dissenting).16 Moreover, Matter of Lettman does not discuss IMMAct § 501(b) and so does not recognize the inconsistency between that section and a wholesale revision implied repeal theory.
Third, Chevron does not apply here in the first place. As explained above, because the presumptions against retroactivity and against implied repeals remove any potential ambiguity that an agency might otherwise resolve, Chevron deference has no role to play. See St. Cyr, 533 U.S. at 320 n. 45, 121 S.Ct. 2271; Lujan-Armendariz, 222 F.3d at 749.
For all these reasons, we conclude that IMMAct § 602(c) did not repeal ADAA § 7344(b).

ii. IMMAct § 602(d)

The “effective date” provision in the following subsection, IMMAct § 602(d), does *1076not serve to overcome the presumption against implied repeal either. That section is fully consistent with interpreting ADAA § 7344(b)’s specific mandate that the aggravated felony ground of deportation is not retroactive as a “minor exception” to IMMAet § 602(c)’s general retro-activity provision.
IMMAet § 602(d) states that § 602’s amendments to INA § 241 “shall not apply to deportation proceedings for which notice has been provided to the alien before March 1, 1991.” The Second Circuit in Bell held that § 602(d) directs that the grounds for deportation in § 602(a) apply to all aliens who received notice on or after March 1, 1991. See Bell, 218 F.3d at 94.17 But this mode of interpreting an effective date provision has been definitively rejected. As the Supreme Court held in St. Cyr, “a ‘statement that a statute will become effective on a certain date does not even arguably suggest that it has any application to conduct that occurred at an earlier date.’ ” St. Cyr, 533 U.S. at 317, 121 S.Ct. 2271 (quoting Landgraf, 511 U.S. at 257, 114 S.Ct. 1483). Thus, a simple effective date provision cannot impliedly repeal all previous temporal limitations on the application of grounds of deportability.

in. Summary

In sum, application of the implied repeal doctrine demands that we interpret § 602 as leaving the temporal limitation on the aggravated felony ground of deportation intact. We therefore need not consider Ledezma-Galicia’s argument that the BIA’s interpretation also violates our presumption against retroactively applied statutes under the second step of the Landgraf retroactivity analysis. Under Landgraf, when a “statute contains no express command [about retroactivity], the court must determine whether [application of] the new statute would have retroactive effect,” and, if it determines it would have such an effect, the court must decline to apply the statute. Landgraf, 511 U.S. at 280, 114 S.Ct. 1483. Because Congress dealt with retroactivity expressly in ADAA § 7344(b) and because we conclude that Congress has not repealed ADAA § 7344(b), we do not need to proceed to the second step of the Landgraf analysis. Cf. Hovsepian, 359 F.3d at 1156 (concluding, in a related context, that the Landgraf presumption did not apply to IMMAet § 602, because § 602(c) represented an express statement that IMMAet § 602(a) should be applied retroactively); see also Bell, 218 F.3d at 93-94 (concluding that Matter of Lettman was unreasonable because it failed to take into account the Landgraf presumption against retroactively applied statutes). We do, however, address the government’s concern that our analysis today is foreclosed by our previous applications of IMMAet § 602(c).
4. Hovsepian and Yacoubian
We previously considered IMMAet § 602(c) in Hovsepian and Yacoubian. These cases concerned two aliens who were convicted at trial of destructive device offenses in 1984, prior to enactment of the ADAA. At that time, the convictions would not have rendered the aliens deport-*1077able under the firearms category of offenses. In 1988, however, the ADAA, in addition to defining the term “aggravated felony” and designating aggravated felonies as a category of deportable offense, amended INA § 241(a) to expand the list of firearms and destructive device convictions that could serve as a basis for deportation. See ADAA § 7348(a).18 At the same time, in language identical to that of ADAA § 7344(b), ADAA § 7348(b) limited the amendment to the firearms ground to convictions on or after the ADAA’s enactment. Despite that temporal limitation, we have twice held that IMMAct § 602(c) rendered aliens deportable based on their pre-ADAA convictions. Hovsepian, 359 F.3d at 1156-57; Yacoubian, 24 F.3d at 6-7.
Because of the similarity between the ADAA temporal limitation at issue in Hovsepian and Yacoubian and ADAA § 7344(b), at issue here, those cases inform our analysis today. But they do not control our resolution of Ledezma-Galicia’s petition, because the ADAA and the IMMAct treated the offenses at issue in Hovsepian and Yacoubian differently from aggravated felonies in a critical respect. In INA § 241(a), which lists the grounds for deportation, the ADAA inserted only a reference to “aggravated felony” convictions generally; it did not further define the term “aggravated felony.”19 Then, the ADAA inserted into the INA’s definitional section, see INA § 101(a) (8 U.S.C. § 1101(a)), a definition of the term “aggravated felony.” For firearms offenses, in contrast, the ADAA made no such structural division, but instead inserted into INA § 241(a)(14) directly an expanded list of firearms the illegal possession of which would render an alien deportable.
The IMMAct continued the ADAA’s distinct structural treatment of the aggravated felony and firearm categories of deportable offenses. Like the ADAA, the IMMAct amended the “aggravated felony” definition in INA § 101, while continuing to reference only the term “aggravated felony” in INA § 241(a), the statutory list of grounds for deportation. By contrast, the IMMAct once again broadened the category of deportable firearms offenses by amending INA § 241(a) directly. As a result of this distinction, there was no need for a provision of the IMMAct pertinent to firearms offenses that is parallel to § 501 of that statute,20 and there is none.
*1078These two related structural distinctions between the aggravated felony and firearms categories of offenses are critical here. Combined, they explain why the implied repeal question in Hovsepian and Yacoubian was fundamentally different from the one we decide today:
First, because there is no IMMAct provision applicable to firearms offenses that is parallel to IMMAct § 501(b), no peculiar result has ensued from our holding that the IMMAct repealed ADAA § 7348(b), regarding firearms deportations. As we have seen, because of IMMAct § 501(b), an implied repeal of ADAA § 7344(b), with respect to pre-ADAA aggravated felony convictions covered by the ADAA but not by the IMMAct, would mean that some aggravated felons could be deported for convictions that occurred before aggravated felony convictions were made a ground for deportation, while others could not, for no discernible reason. But the implied repeal of ADAA § 7348(b), regarding firearms deportations, creates no comparably odd outcome. The IMMAct did not include a separate temporal reach provision governing firearms convictions that is in tension with IMMAct § 602(c).
Second, IMMAct § 602(a) substantially — and substantively — changed the firearms ground for deportability from the version contained in the ADAA.21 In doing so, the BIA concluded, IMMAct § 602(a) “enactfed] ... a new statutory provision that completely supersedes all former versions of that [firearms] deportation ground.” Matter of Chow, 20 I. &amp; N. Dec. at 650 (emphasis added). We agree: IMMAct § 602(a) made ADAA § 7348(b), regarding the deportation consequences of certain pre-ADAA firearms convictions, no longer applicable at all, working a complete revision of the firearms ground for deportation.22
In contrast, IMMAct § 602(a) changed only the statutory placement of the aggravated felony ground within INA § 241(a), but made no change to the substance of the aggravated felony ground for deportation. Compare 8 U.S.C. § 1251(a)(4)(B) (1988) (“Any alien in the United States shall, upon the order of the Attorney General, be deported who — ... (4) ... (B) is convicted of an aggravated felony at any time after entry”) with 8 U.S.C. § 1251(a)(2)(A)(iii) (1988 Supp. II) (“Any alien who is convicted of an aggravated felony at any time after entry is deportable”). So the complete revision implied repeal theory was applicable in Hovsepian and Yacoubian, but is not applicable here. See also Matter of Lettman, 22 I. &amp; N. Dec. at 389-90 (Rosenberg, dissenting) (explaining that “with section 602(a) of the 1990 Act Congress only changed the nu*1079merical designation of some deportation grounds, while with others, such as that governing firearms violations, it completely substituted the text of the new section for that of the former section” (internal citations omitted)).
To summarize: For pre-ADAA aggravated felonies, our implied repeal analysis is informed by considerations quite different from those relevant to pre-ADAA firearms offenses. We hold that unlike ADAA § 7348(b), regarding pre-ADAA firearms offenses, ADAA § 7344(b), regarding preADAA aggravated felonies, survived the IMMAct.
B. IIRIRA
To complete the saga of ADAA § 7344(b), we consider finally whether that provision also survived IIRIRA, the 1996 reform of immigration law that added “sexual abuse of a minor” to the aggravated felony definition, IIRIRA § 321(a), and made the amended definition applicable to all aliens, regardless of their date of conviction, IIRIRA § 321(b). Noting our pri- or holding that IIRIRA “clearly manifested an intent for the amended definition of aggravated felony to apply retroactively,” Aragon-Ayon, 206 F.3d at 851, the district court in Ledezma-Galieia’s habeas proceeding concluded that IIRIRA § 321(b) erased the ADAA’s temporal limitation because “changing the meaning of a statutory term necessarily changes the effect of the statute using that term.” Ledezma Galicia, 294 F.Supp.2d at 1197 (D.Or.2003); id. at 1195 (quoting Aragon-Ayon).
We cannot agree. As we have clarified, “it is settled law that the ... definitional statute, IIRIRA § 321, which defines certain crimes as aggravated felonies, applies regardless of the date of the crime.” Lopez-Castellanos v. Gonzales, 437 F.3d 848, 852 (9th Cir.2006). But IIR-IRA’s effective date provisions do not control “the substantive immigration consequences of IIRIRA” (emphasis added)— even when those consequences turn on an aggravated felony conviction. Id. at 852-54 (recognizing that the definition of “aggravated felony” applies to all aliens, but nevertheless analyzing separately the temporal reach of an IIRIRA provision making aggravated felons ineligible for cancellation of removal).23 As Ledezma-Galicia emphasizes, there are a host of consequences of being an aggravated felon other than removability.24 And in addition to this court, both the Supreme Court and the immigration agencies have consistently determined the temporal reach of those consequences of aggravated felony convictions separately from the temporal reach of the aggravated felony definition, even in the wake of IIRIRA.25 See, e.g., 8 C.F.R. *1080§ 316.10(b)(1) (limiting the aggravated felony bar to good moral character determinations to convictions that occurred on or after November 29, 1990); see also St. Cyr, 533 U.S. at 315, 121 S.Ct. 2271 (holding that a 1996 law that prohibited aggravated felons from applying for relief from deportation could not apply retroactively); Matter of A-A-, 20 I. &amp; N. Dec. 492, 495-98 (BIA 1997) (discussing individual temporal limitations on the consequences of aggravated felonies).
There has been no suggestion that any provision in IIRIRA other than § 321 affects ADAA § 7344(b). We therefore hold that the ADAA’s temporal limitation on aggravated felony removals survived not only the IMMAct but also IIRIRA. In other words, the law remains that pursuant to ADAA § 7344(b), the aggravated felony ground for deportation “shall apply [only] to any alien who has been convicted, on or after the date of enactment of [ADAA], of an aggravated felony.”
IV. CONCLUSION
Ledezma-Galicia is not removable by reason of being an aggravated felon, because 8 U.S.C. § 1227(a)(2)(A)(iii) does not apply to convictions, like Ledezma-Galicia’s, that occurred prior to November 18, 1988. Consequently, we grant Ledezma-Galicia’s petition for review, vacate the district court’s denial of his habeas petition, and dismiss his appeal as moot.
No. 03-73648: PETITION FOR REVIEW GRANTED; REMANDED.
No. 04-35048: VACATED and DISMISSED.

. Unless otherwise stated, all references to the United States Code are to the 2000 edition.


. The Illegal Immigration Reform and Immigrant Responsibility Act of 1996 (IIRIRA) “eliminated the distinction between deportation and exclusion proceedings, replacing them with a new, consolidated category — ‘removal.’ ” Salgado-Diaz v. Gonzales, 395 F.3d 1158, 1162 (9th Cir.2005). Because we are here concerned with both pre-IIRIRA and post-IIRIRA law, and because there is no material difference here relevant, we use the terms interchangeably.


. Section 1227(a)(2)(A)(iii) provides: "Any alien who is convicted of an aggravated felony at any time after admission is deportable.”


. ADAA § 7344(a) provided in full: "Section 241(a)(4) [of the Immigration and Nationality Act] (8 U.S.C. § 1251(a)(4)) is amended — (2) [sic] by inserting after the semicolon the following: ‘or (B) is convicted of an aggravated felony at any time after entry.' ”


. ADAA § 7342 provided in full: "Section 101(a) [of the INA] (8 U.S.C. 1101(a)) is amended by adding at the end thereof the following new paragraph: '(43) The term 'aggravated felony' means murder, any drug trafficking crime as defined in section 924(c)(2) *1064of title 18, United States Code, or any illicit trafficking in any firearms or destructive devices as defined in section 921 of such title, or any attempt or conspiracy to commit any such act, committed within the United States.’ ”


. INA § 241 at the time was codified at 8 U.S.C. § 1251. See 8 U.S.C. § 1251 (1994) (codification notes).


. IIRIRA moved the grounds for deportation from INA § 241(a), codified at 8 U.S.C. § 1251(a), to INA § 237(a), codified at 8 U.S.C. § 1227(a).


. The IJ assumed that Ledezma-Galicia was eligible for former § 212(c) relief pursuant to INS v. St. Cyr, 533 U.S. 289, 121 S.Ct. 2271, 150 L.Ed.2d 347 (2001), but exercised his discretionary authority to deny such relief.


. We note in this connection that every circuit to address the issue — including the Ninth— has held that Chevron deference is inappropriate on questions of statutory retroactivity. See Arevalo v. Ashcroft, 344 F.3d 1, 9-10 (1st Cir.2003) (explaining that in deciding "whether [a statute] should be interpreted retrospectively ... there is no occasion for Chevron deference” and noting that "courts, rather than agencies, are best equipped to make the constitutionally tinged judgment calls inherent in retroactivity determinations”); Martinez v. INS, 523 F.3d 365, 372 (2d Cir.2008) (explaining that "[tjhough statutory silence would ordinarily trigger Chevron deference, this principle does not hold when the issue is retroactivity”); Dinnall v. Gonzales, 421 F.3d 247, 251 (3d Cir.2005) (same); Velasquez-Gabriel v. Crocetti, 263 F.3d 102, 106 n. 2 (4th Cir.2001) (same); Ojeda-Terrazas v. Ashcroft, 290 F.3d 292, 300 n. 53 (5th Cir.2002) (same); Bejjani v. I.N.S., 271 F.3d 670, 679-80 (6th Cir.2001) abrogated on other grounds by Fernandez-Vargas v. Gonzales, 548 U.S. 30, 126 S.Ct. 2422, 165 L.Ed.2d 323 (2006) (same); Camins v. Gonzales, 500 F.3d 872, 880 (9th Cir.2007) ("We review de novo, and without Chevron deference to the BIA, whether a change to an immigration law is impermissibly retroactive” — i.e., whether Congress has sufficiently clearly stated its intent to make the statute retroactive); Hem v. Maurer, 458 F.3d 1185, 1189 (10th Cir.2006) (“When a statute is ambiguous, we defer to an agency’s statutory interpretation^ citing Chevron], When determining questions of retroactivity, however, our review is de novo.”) (citations altered); Sarmiento Cisneros v. U.S. Att’y Gen., 381 F.3d 1277, 1280 (11th Cir.2004) ("No deference is owed to the agency when the ambiguity involves the retroactive application of the statute.”); see also Valencia-Alvarez v. Gonzales, 469 F.3d 1319, 1326 (9th Cir.2006) (declining to apply Chevron deference because the government had not shown that the "BIA is authorized by Congress to decide” issues of statutory retroactivity).


. Prior to the IMMAct, ADAA § 7344(b) was listed in the ‘‘effective date” notes to 8 U.S.C. § 1251. See 8 U.S.C. § 1251 (1988). The appearance of ADAA § 7344(b) in those notes does not support the BIA’s analysis. For one thing, the provision also appeared in the effective date notes to the post-IMMAct version of the U.S.Code. See 8 U.S.C. § 1251 (1994). Furthermore, the ADAA temporal provision appeared only in the notes to § 1251, not in the text. Although codification decisions are ordinarily not made by Congress, it is of some significance that the codifiers understood that § 7344(b) was not part of the text of the statute. See generally Questions &amp; Answers, 78 Law Libr L 585, 592 (1986) (regarding the codification process for federal laws). We note that some of the electronic versions of the ADAA show § 7344(b) as containing the bracketed phrase "8 U.S.C. § 1251 note” in the middle of subsection (b)’s text, or at the very beginning. See Pub.L. No. 100-690, 102 Stat. 4181, 4470-71 (Westlaw); Pub.L. No. 100-690, 102 Stat. 4181, 4470-71 (Lexis). Both those transcriptions are erroneous. It is quite clear, if one looks at the Public Law as published in the Statutes at Large, that the reference to "8 U.S.C. § 1251 note” appears only in the margin of ADAA § 7344(b), not in the text. Pub.L. No. 100-690, 102 Stat. 4471. Margin notes are added by the codifiers, not by Congress. See Questions and Answers, 78 Law Libr. J. at 592. The decision to move the codifiers’ marginal note into the text of § 7344(b) was apparently


. We note that two of our sister circuits have deferred to the BIA’s analysis in Matter of Lettman. As an initial matter, we note that neither court recognized that the conviction date trigger of ADAA § 7344(b) was not contained in any version of INA § 241 and so was not referenced in IMMAct § 602(c). See Lettman v. Reno, 207 F.3d 1368, 1370-72 (11th Cir.2000); Lewis v. INS, 194 F.3d 539, 545-46 (4th Cir.1999). In any case, both these cases were decided before the Supreme Court clarified in St. Cyr that Chevron deference is inappropriate on questions of statutory retroactivity.
The Court of Appeals for the Second Circuit is the only other court to address whether ADAA § 7344(b) bars retroactive application of the aggravated felony ground of removal. In Bell v. Reno, 218 F.3d 86 (2d Cir.2000), that court also concluded that IMMAct § 602 overrode ADAA § 7344(b), but did so based on IMMAct § 602(d), rather than § 602(c), with reasoning distinct from that of both the BIA and the analysis we develop today. In Bell, the Second Circuit did not accord Chevron deference to the BIA's decision in Lettman, because it concluded that the BIA failed adequately to apply the presumption against statutory retroactivity. Id. at 93-94. We discuss Bell later in this opinion.


. United States v. Novak, 476 F.3d 1041 (9th Cir.2007) (en banc), is not to the contrary. Novak indicated that the inclusion of a broad statement — "notwithstanding any other law” — in a new statutory provision can, in some circumstances, support an implied repeal of earlier statutes, thereby functioning similarly to an express reference to the superseded statute, and demonstrating that Congress " 'intended to partially repeal [an] Act.' ” 476 F.3d at 1052 (quoting Lujan-Armendariz, 222 F.3d at 747). The "except” clause in IMMAct § 602(c) is not, however, tantamount to the "notwithstanding any other law” clause in Novak. "Notwithstanding any other law” in Novak showed an intent by Congress to supersede any and all potentially conflicting laws. By contrast, because it expressly refers to some version of INA § 241, the "except” clause in IMMAct § 602(c) indicates only a recognition that INA § 241 — in some form — conflicts with the rest of § 602(c). The "except” clause does not show any recognition that Congress anticipated that other laws could also conflict with § 602(c), or meant to address the continued viability of such laws.
Moreover, Novak did not state that "notwithstanding any other law” is, standing alone, an express repeal. Instead, it recog*1072nized that any such vaguely stated intent can be overridden by other statutory indicators. It went on to consider the overall statutory scheme at length before concluding there was an intent to override an earlier conflicting statute. See 476 F.3d at 1046-53; see also Lujan-Armendariz, 222 F.3d at 747-48 (concluding that the absence of a “notwithstanding any other law” clause in one provision of a statute signaled a lack of intent to repeal an earlier statute because the same new statute had used “notwithstanding any other law” clauses in several other places); see also Kee Leasing Co. v. McGahan (In re Glacier Bay), 944 F.2d 577, 582 (9th Cir.1991) (holding that the phrase "notwithstanding ... any other law” did not settle the express repeal question, when other laws were incorporated by reference).


. As the BIA noted in Matter of Lettman, Congress repealed former INA § 241(d) as part of the Miscellaneous and Technical Immigration and Naturalization Amendments of 1991, Pub.L. No. 102-232, 105 Stat. 1733, 1756, "confirming] ... that the second sentence of [IMMAct] section 602(c) ... was intended to serve the same function as former section 241(d).” 22 I. &amp; N. Dec. at 373.


. Section 501 reads in full:
(a) IN GENERAL. — Paragraph (43) of section 101(a) (8 U.S.C. 1101(a)) is amended—
(1) by aligning its left margin with the left margin of paragraph (42),
(2) by inserting "any illicit trafficking in any controlled substance (as defined in section 102 of the Controlled Substances Act), including” after “murder,”
(3) by inserting after "such title,” the following: “any offense described in section 1956 of title 18, United States Code (relating to laundering of monetary instruments), or any crime of violence (as defined in section 16 of title 18, United States Code, not including a purely political offense) for which the term of imprisonment imposed (regardless of any suspension of such imprisonment) is at least 5 years,”
(4) by striking "committed within the United States,”
(5) by adding at the end the following: “Such term applies to offenses described in the previous sentence whether in violation of Federal or State law,” and
(6) by inserting before the period of the sentence added by paragraph (5) the following: "and also applies to offenses described in the previous sentence in violation of foreign law for which the term of imprisonment was completed within the previous 15 years.”
(b) EFFECTIVE DATE. — The amendments made by subsection (a) shall apply to offenses committed on or after the date of the enactment of this Act, except that the amendments made by paragraphs (2) and (5) of subsection (a) shall be effective as if included in the enactment of section 7342 of the Anti-Drug Abuse Act of 1988 [defining "aggravated felony”].


. ADAA § 7344 was one of a handful of provisions in the ADAA that related to aggravated felony convictions. Two other ADAA provisions, § 7343 and § 7347, created separate procedures for detaining and deporting aliens convicted of aggravated felonies. And like § 7344, those two other provisions expressly provided that they only applied to post-ADAA convictions. See § 7343(c), 102 Stat. at 4470 (limiting the applicability of provisions regarding detention of aggravated felons); § 7347(c), 102 Stat. at 4472 (limiting *1074the applicability of provisions regarding expedited deportation procedures for aggravated felons). These provisions do not independently give meaning to § 501(b)'s mention of the ADAA, because both of these provisions concern enforcement of the aggravated felony ground of deportation and are thus logically tied to the temporal reach of that ground.


. Boardmember Rosenberg further explained that until Lettman, case law from multiple courts of appeals and the BIA, as well as an INS policy statement, had so recognized, regarding ADAA § 7344 as in full force after 1990. Id. (citing United States v. Baca-Valenzuela, 118 F.3d 1223, 1229 n. 12 (8th Cir.1997); Scheidemann v. INS, 83 F.3d 1517, 1524 (3d Cir.1996); De Osorio v. INS, 10 F.3d 1034, 1039 n. 4 (4th Cir.1993); Matter of Chow, 20 I. &amp; N. Dec. 647, 651-52 (BIA 1993), aff'd sub nom. Kin Sang Chow v. INS, 12 F.3d 34 (5th Cir.1993); Aggravated Felony: Applicability to Convictions Prior to November 18, 1988, Op. Off. General Counsel 91-3 (Feb. 22, 1991)).


. Unlike the BIA and the other circuits that have considered the question, Bell did not conclude that IMMAet § 602(c) overrode ADAA § 7344(b). The BIA's analysis in Matter of Lettman, the Second Circuit decided, was not reasonable because it did not employ the presumption against retroactively applied statutes. Applying that presumption, the Second Circuit held that IMMAet § 602(c) could not apply to pre-ADAA aggravated felony convictions. 218 F.3d at 93-94. Up to that point, Bell supports our somewhat different analysis, as it recognizes that the Matter of Lettman statutory analysis is not sufficiently persuasive to overcome presumptive rules of statutory interpretation cutting in the other direction.


. More specifically: Prior to the ADAA, INA § 241(a)(14) rendered deportable an alien who "at any time after entry, shall have been convicted of possessing or carrying in violation of any law any weapon which shoots or is designed to shoot automatically or semiautomatically more than one shot without manual reloading, by a single function of the trigger, or a weapon commonly called a sawed-off shotgun.” 8 U.S.C. § 1251(a)(14) (1982). The ADAA amended that provision "by inserting after ‘law’ the following: 'any firearm or destructive device (as defined in paragraphs (3) and (4), respectively, of section 921(a) of title 18, United States Code, or any revolver or.’ ” ADAA § 7348(a); see also 8 U.S.C. § 1251(a)(14) (1988)).


. For aggravated felony convictions, the ADAA's distinction between the term's definition and its relevance to deportability has proven practical for two reasons. First, the ADAA and later statutes used the shorthand term "aggravated felony” in several contexts other than deportability. See, e.g., 8 U.S.C. § 1158(b)(2) (regarding asylum eligibility); 8 U.S.C. § 1228 (regarding expedited removal proceedings); 8 U.S.C. § 1231(b)(3)(B)(iv) (regarding eligibility for withholding of removal). Second, Congress has been able to broaden the scope of the aggravated felony concept in all its applications by amending the definition of "aggravated felony” without having to amend separately each statute in which the concept is used.


. Section 501, as discussed above, limited the applicability of the broadened reach of the aggravated felony ground to post-IMMAct convictions.


. After IMMAct, the relevant INA provision read:
Any alien convicted under any law of purchasing, selling, offering for sale, exchanging, using, owning, possessing, or carrying in violation of any law, any weapon, part, or accessory, which is a firearm or destructive device (as defined in section 921(a) of title 18) is deportable.
8 U.S.C. § 1251(a)(2)(C) (1988 Supp. II); see also IMMAct § 602(a); cf. 8 U.S.C. § 1251(a)(14) (1988) (pre-IMMAct firearms provision).


. See Chow v. INS, 12 F.3d 34, 37-38 (5th Cir.1993) (applying Chevron deference to approve the BIA’s interpretation of IMMAct § 602(a)); Yacoubian, 24 F.3d at 7 (citing the Fifth Circuit opinion in Chow).
We note that Matter of Chow is fully consistent with the principles of our implied repeal jurisprudence. Radzanower instructs that one "well-settled categor[y] of repeals by implication” consists of instances when "the later act covers the whole subject of the earlier one and is clearly intended as a substitute.” 426 U.S. at 154, 96 S.Ct. 1989. Although Matter of Chow did not cite Radzanower or related cases, the BIA's conclusion in that case is little more than a paraphrase of Radzanower’s description of an appropriate implied repeal.


. None of the cases that established the retroactivity of the aggravated felony definition discussed whether a pre-1988 aggravated felony conviction could trigger deportability. Park v. INS, 252 F.3d 1018 (9th Cir.2001), and Aragon-Ayon addressed post-1988 convictions, which indisputably triggered deport-ability as aggravated felonies if the 1996 statute's definition of aggravated felony was deemed applicable. Valderrama-Fonseca v. INS, 116 F.3d 853 (9th Cir.1997), considered the consequences of a 1985 conviction. But in that case too, we did not need to consider the interaction between IIRIRA § 321 and the ADAA. Instead, we determined that § 321(c), which limited § 321(a) to “actions taken” after September 30, 1996, precluded the application of IIRIRA to the case, holding that “actions taken” referred to "anything done by the Attorney General after the effective date (without regard to when the conviction occurred) except for what is done solely on account of the alien's reentering the country.” 116 F.3d at 856-57. In Valderrama-Fonseca, no such actions were “taken” after the effective date of IIRIRA, so § 321(a)'s amendment of the aggravated felony definition was inapplicable. Id. at 857.


. Ledezma-Galicia identifies nineteen distinct consequences of aggravated felon status.


. In our analysis of the IMMAct earlier in this opinion, we expressed concern about *1080the tension between the BIA’s reading of IMMAct § 602(c) — regarding the retroactivity of the deportation consequences of aggravated felonies — and IMMAct § 501(b) — regarding the retroactivity of the aggravated felony definition. Our concern does not, however, imply that Congress cannot separately define the temporal reach of the aggravated felony definition and the temporal reach of its consequences. Our objection was only to an interpretation of the two temporal reach provisions that would result in lack of uniformity for different aggravated felonies with regard to whether convictions that predated the entire aggravated felony concept could be grounds for deportation. No such tension occurs if, as we hold, the expanded aggravated felony definition applies to all convictions, but only triggers deportability for convictions after the statute making the definition pertinent to deportation was enacted. Under this interpretation of the relevant statutes, all aggravated felons — as that term is presently defined — are treated alike, in terms of deportability. Nothing in IIRIRA suggests a contrary, nonuniform intent.

